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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND



CORVIAS MANAGEMENT-                          *
ARMY, LLC, et al.,
                                             *
                Plaintiffs,                  *

v.                                           *

PILADELPHIA INDEMNITY                        *       Civil Action No. 22-cv-02285-GLR
INSURNACE COMPANY, et al.

       Defendants                            *

*      *        *      *      *       *      *       *       *      *      *       *      *

                                       COUNTERCLAIM

       Defendant and Counter-Plaintiff Philadelphia Indemnity Insurance Company

(“PIIC”) brings this counterclaim against Plaintiffs and Counter-Defendants Corvias

Management – Army, LLC and Meade Communities, LLC (collectively, “Corvias”), and

states as follows:

                                     NATURE OF THE ACTION

       1.       This is a claim for declaratory relief pursuant to 28 U.S.C. § 2201 for the

purpose of determining questions in actual controversy between Plaintiffs and Defendants

concerning their rights, duties and obligations under certain policies of insurance issued by

PIIC, and for unjust enrichment regarding amounts PIIC has paid to defend Plaintiffs in

litigation against them and to settle claims against them.

                                            PARTIES
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       2.       Philadelphia Indemnity Insurance Company (“PIIC”) is an insurance company

organized and existing under the laws of the Commonwealth of Pennsylvania.

       3.       Corvias Management – Army LLC (“Corvias Management”) is a Delaware

limited liability company with its principal place of business in Delaware.

       4.       Meade Communities, LLC (“Meade”) is a Delaware limited liability company

with its principal place of business in Maryland.

                                    JURISDICTION AND VENUE

       7.       This Court has original jurisdiction over this action pursuant to 28 U.S.C. § 1332

because the amount in controversy exceeds $75,000 exclusive of costs and there is complete

diversity of citizenship between the parties.

       8.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) in that a

substantial part of the events giving rise to PIIC’s claims occurred within this District.

                                         THE ADDI LAWSUIT

       9.       On November 12, 2019, eleven families who are current or former tenants of

military housing at Fort Meade, Maryland filed a class action lawsuit in the United States

District Court for the District of Maryland against Meade and Corvias Management. The

lawsuit is styled Joseph Addi, et al. vs. Corvias Management-Army, LLC, et al, Case No. 1:19-CV-

03253-ELH (the “Addi Lawsuit”).

       10.      The Addi plaintiffs filed an Amended Complaint on February 14, 2020, a copy

of which is attached hereto as Exhibit 1.




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      11.       The Amended Complaint alleged that Corvias ignored requests for

maintenance and performed repairs in a substandard manner, resulting in water intrusion

and damage, pests, mold infestation, drainage issues, plumbing problems and other defective

conditions. At least one family also alleged that they were exposed to lead paint in their unit.

       12.      The Addi Amended Complaint alleged causes of action for Negligence, Gross

Negligence, Negligent Breach of Warranty to Repair, Breach of Contract, Tort Arising Out of

Breach of Contract, Constructive Eviction, Violation of §3951 of the Servicemembers Civil

Relief Act, Violation of Maryland Real Property Article §8-211, Breach of Implied Covenant

of Quiet Enjoyment, Unjust Enrichment, Unfair or Deceptive Trade Practices, Negligent

Misrepresentation, Fraud, Nuisance and Civil Conspiracy.

       13.      The Addi Lawsuit has been settled and dismissed.

                                        THE PIIC POLICIES

       14.      PIIC issued Commercial General Liability Policy No. PHPK1632992, effective

April 1, 2017 to April 1, 2018, Policy No. PHPK1798659, effective April 1, 2018 to April 1, 2019,

and Policy No. PHPK1964188, effective April 1, 2019 to April 1, 2020, to Corvias Group, LLC

(the “PIIC CGL Policies”). The PIIC CGL Policies carry limits of liability of $1,000,000 per

occurrence and $2,000,000 general aggregate.

       15.      PIIC issued Commercial Umbrella Liability policies, Policy No. PHUB578588,

effective April 1, 2017 to April 1, 2018, Policy No. PHUB623353, effective April 1, 2018 to April

1, 2019, and Policy No. PHUB670673, effective April 1, 2019 to April 1, 2020 to Corvias Group,

LLC (the “PIIC Umbrella Policies”). Umbrella Policy Nos. PHUB578588 and PHUB623353

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carry limits of liability of $5,000,000 per occurrence, and Umbrella Policy No. PHUB670673

carries limits of liability of $10,000,000 per occurrence.

       16.     The evidence adduced during discovery in the Addi Lawsuit showed that none

of the Addi plaintiffs experienced bodily injury.

       17.     The evidence adduced during discovery in the Addi awsuit showed that any

bodily injury experienced by the Addi plaintiffs was solely caused by mold or other causes

excluded by the PIIC CGL Policies and PIIC Umbrella Policies (the PIIC CGL Policies and

PIIC Umbrella Policies are collectively referred to as the “PIIC Policies”).

       18.     The evidence adduced during discovery in the Addi Lawsuit showed that any

property damage experienced by the Addi plaintiffs was solely caused by mold or other

causes excluded by the PIIC Policies.

       19.     The evidence adduced during discovery in the Addi Lawsuit showed that the

sole damages claimed by the Addi plaintiffs were damages for matters other than bodily

injury or property damage, including abatement of rent paid and moving expenses.

       20.     Corvias Management and Meade are Named Insureds under the PIIC Policies.

       21.     The PIIC CGL Policies contain Commercial General Liability Coverage Form

CG 00 01 (12 04, 12 07 & 04 13).

       22.     Coverage A – Bodily Injury and Property Damage Liability provides in

relevant part as follows:

       COVERAGE A – BODILY INJURY AND PROPERTY DAMAGE LIABILITY

               1.     Insuring Agreement

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    a.     We will pay those sums that the insured becomes legally
    obligated to pay as damages because of "bodily injury" or "property
    damage" to which this insurance applies. We will have the right and
    duty to defend the insured against any "suit" seeking those damages.
    However, we will have no duty to defend the insured against any "suit"
    seeking damages for "bodily injury" or "property damage" to which this
    insurance does not apply. We may, at our discretion, investigate any
    "occurrence" and settle any claim or "suit" that may result. …

    ***

    2.      Exclusions

    This insurance does not apply to:

    a. Expected Or Intended Injury

    “Bodily injury” or “property damage” expected or intended from the
    standpoint of the insured. …

    f.    Pollution

    (1) Bodily injury" or "property damage" arising out of the actual,
    alleged or threatened discharge, dispersal, seepage, migration, release
    or escape of "pollutants":

    (a) At or from any premises, site or location which is or was at any
    time owned or occupied by, or rented or loaned to, any insured.
    However, this subparagraph does not apply to:
    (i) "Bodily injury" if sustained within a building and caused by smoke,
    fumes, vapor or soot produced by or originating from equipment that
    is used to heat, cool or dehumidify the building, or equipment that is
    used to heat water for personal use, by the building's occupants or
    their guests;
    (ii) "Bodily injury" or "property damage" for which you may be held
    liable, if you are a contractor and the owner or lessee of such premises,
    site or location has been added to your policy as an additional insured
    with respect to your ongoing operations performed for that additional
    insured at that premises, site or location and such premises, site or



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      location is not and never was owned or occupied by, or rented or
      loaned to, any insured, other than that additional insured; or
      (iii) "Bodily injury" or "property damage" arising out of heat, smoke or
      fumes from a "hostile fire";

      (e) At or from any premises, site or location on which any insured or
      any contractors or subcontractors working directly or indirectly on
      any insured's behalf are performing operations if the operations are to
      test for, monitor, clean up, remove, contain, treat, detoxify or
      neutralize, or in any way respond to, or assess the effects of,
      "pollutants".

      (2) Any loss, cost or expense arising out of any:
      (a) Request, demand, order or statutory or regulatory requirement that
      any insured or others test for, monitor, clean up, remove, contain,
      treat, detoxify or neutralize, or in any way respond to, or assess the
      effects of, "pollutants"; or
      (b) Claim or "suit" by or on behalf of a governmental authority for
      damages because of testing for, monitoring, cleaning up, removing,
      containing, treating, detoxifying or neutralizing, or in any way
      responding to, or assessing the effects of, "pollutants".
      However, this paragraph does not apply to liability for damages
      because of "property damage" that the insured would have in the
      absence of such request, demand, order or statutory or regulatory
      requirement, or such claim or "suit" by or on behalf of a governmental
      authority.

23.   The PIIC CGL Policies contain the following relevant Definitions:

      SECTION V – DEFINITIONS

      3. "Bodily injury" means bodily injury, sickness or disease sustained
      by a person, including death resulting from any of these at any time.

      13. "Occurrence" means an accident, including continuous or repeated
      exposure to substantially the same general harmful conditions.

      15. “Pollutants” mean any solid, liquid, gaseous or thermal irritant or
      contaminant, including smoke, vapor, soot, fumes, acids, alkalis,
      chemicals and waste. Waste includes materials to be recycled,
      reconditioned or reclaimed.

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      24.   The PIIC CGL Policies contain the following relevant Conditions:

            SECTION IV – COMMERCIAL GENERAL LIABILITY
            CONDITIONS

            2. Duties In The Event Of Occurrence, Offense,
            Claim Or Suit

            …

            c. You and any other involved insured must:
            …

                   (3) Cooperate with us in the investigation or
                   settlement of the claim or defense against the "suit"; …



      25. The PIIC CGL Policies contain a Fungi or Bacteria Exclusion endorsement which

provides:

            COMMERCIAL GENERAL LIABILITY COVERAGE PART
            A. The following exclusion is added to Paragraph 2.,
            Exclusions of Section I – Coverage A – Bodily
            Injury And Property Damage Liability:
            2. Exclusions
            This insurance does not apply to:
            Fungi or Bacteria
            a. "Bodily injury" or "property damage" which would not have
            occurred, in whole or in part, but for the actual, alleged or threatened
            inhalation of, ingestion of, contact with, exposure to, existence of, or
            presence of, any "fungi" or bacteria on or within a
            building or structure, including its contents, regardless of whether any
            other cause, event, material or product contributed concurrently or in
            any sequence to such injury or damage.
            b. Any loss, cost or expenses arising out of the abating, testing for,
            monitoring, cleaning up, removing, containing, treating, detoxifying,
            neutralizing, remediating or disposing of, or in any way responding
            to, or assessing the effects of, "fungi" or bacteria, by any insured or by
            any other person or entity. This exclusion does not apply to any

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             "fungi" or bacteria that are, are on, or are contained in, a good or
             product intended for consumption.

             B. The following exclusion is added to Paragraph 2., Exclusions of
             Section I – Coverage B – Personal And Advertising Injury Liability:
             2. Exclusions
             This insurance does not apply to:
             Fungi or Bacteria
             a. "Personal and advertising injury" which would not have taken
             place, in whole or in part, but for the actual, alleged or threatened
             inhalation of, ingestion of, contact with, exposure to, existence of, or
             presence of any "fungi" or bacteria on or within a building or
             structure, including its contents, regardless of whether any other
             cause, event, material or product contributed concurrently or in any
             sequence to such injury.

             b. Any loss, cost or expense arising out of the abating, testing for,
             monitoring, cleaning up, removing, containing, treating, detoxifying,
             neutralizing, remediating or disposing of, or
             in any way responding to, or assessing the effects of, "fungi" or
             bacteria, by any insured or by any other person or entity.

             c. The following definition is added to the Definitions Section:
             "Fungi" means any type or form of fungus, including mold or mildew
             and any mycotoxins, spores, scents or byproducts produced or
             released by fungi.

      26.    The PIIC CGL Policies also contain a Lead Liability Exclusion endorsement

which provides:

              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ
                               IT CAREFULLY.

                                EXCLUSION - LEAD LIABILITY

             This endorsement modifies insurance provided under the following:

             COMMERCIAL GENERAL LIABILITY COVERAGE PART




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    The following exclusion is added to paragraph 2., Exclusions of
    COVERAGE A - BODILY INJURY AND PROPERTY DAMAGE
    LIABILITY (Section 1 - Coverages) and paragraph 2., Exclusions of
    COVERAGE B - PERSONAL AND ADVERTISING INJURY
    LIABILITY (Section 1 - Coverages):

    This insurance does not apply to:

 1. “Bodily injury,” “property damage,” or “personal and advertising
    injury” arising out of or caused by the actual or alleged:

    a. Exposure to or existence of lead, paint containing lead, or any other
    material or substance containing lead;

    b. Manufacture, distribution, sale, resale, rebranding, installation,
    repair, removal, encapsulation,
    abatement, replacement or handling of lead, paint containing lead, or
    any other material or substance containing lead;

    Whether or not the lead is or was at any time airborne as a particulate,
    contained in a product ingested, inhaled, transmitted in any fashion,
    or found in any form whatsoever.

 2. Any legal obligation of any insured for indemnification or
    contribution due to damages arising out of “bodily injury,” “property
    damage” or “personal and advertising injury” caused by lead, paint
    containing lead, or any other substance or material containing lead.

 3. Any loss, cost, expense or damages, whether direct or consequential,
    arising out of any:

    (a) Request, demand or order that any insured or others test for,
    monitor, clean up, remove, abate, contain, treat or neutralize lead,
    paint containing lead, or any other substance or material containing
    lead, or in any way respond to, or assess the effects of lead; or

    (b) Claim or suit related to, testing for, monitoring, cleaning up,
    removing, abating, containing, treating or neutralizing lead, paint
    containing lead, or any other substance or material containing lead or
    in any way responding to or assessing the effects of lead.



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       27.      The pertinent language of the PIIC Umbrella Policies is substantially similar to

the PIIC CGL Policies.

                             DEFENSE OF THE ADDI LAWSUIT

       28.      Corvias retained the law firm of Holland & Knight to represent their interests

in the Addi Lawsuit.

       29.      Corvias tendered the Addi Lawsuit to PIIC for a defense.

       30.      PIIC agreed to defend Corvias pursuant to a reservation of rights.

       31.      Corvias rejected PIIC’s offer to defend Corvias and asserted that it had a right

to independent counsel and to control the defense of the Addi Lawsuit.

       32.      In an effort to reach a compromise agreement regarding defense, PIIC offered

to allow Holland & Knight to represent Corvias, subject to certain conditions regarding

rates and the manner in which the defense would be handled.

       33.      Corvias agreed to the conditions for permitting Holland & Knight to defend

Corvias in the Addi Lawsuit.

       34.      Holland & Knight’s actions in defending Corvias were outside the conditions

to which the parties had agreed, including staffing, actions involved in the defense, and

failure to keep PIIC informed of the progress of the Addi Lawsuit.

       35.      Corvias has breached the agreement regarding rates and conditions of the

defense of the Addi Lawsuit by bringing this action to recover defense fees to which it is not

entitled.




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                                       COUNT I
             Declaratory Judgment – PIIC had the right to control the defense.

       36.    PIIC adopts and incorporates by reference the allegations set forth in

paragraphs 1 through 35.

       37.    Corvias tendered the Addi Lawsuit to PIIC for a defense.

       38.    PIIC agreed to defend the insured Corvias in the Addi Lawsuit pursuant to a

reservation of rights.

       39.    PIIC had the contractual right under the PIIC Policies to choose defense

counsel and to control the defense of Corvias in the Addi Lawsuit.

       40.    Moreover, Corvias had a duty to cooperate with PIIC in the defense of the

Addi Lawsuit.

       41.    Corvias was not entitled to independent counsel for defense of the Addi

Lawsuit.

       WHEREFORE, PIIC respectfully requests that this Honorable Court enter judgment

in its favor declaring that Corvias was not entitled to independent counsel or entitled to

control the defense of the Addi Lawsuit and that PIIC had the sole right to choose defense

counsel and to control the defense of Corvias in the Addi Lawsuit. In addition, PIIC

requests such other and further relief as this Court may deem just and proper under the

circumstances.

                                      COUNT II
     Declaratory Judgment – There is no coverage available under the PIIC Policies
                     for the claims asserted in the Addi Lawsuit



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       42.    PIIC adopts and incorporates by reference the allegations set forth in

paragraphs 1 through 41.

       43.    PIIC contends that there is no coverage available under the PIIC Policies for

the claims asserted in the Addi Lawsuit for one or more of the following reasons:

              a.     The Addi plaintiffs did not prove “bodily injury” as defined in the

                     PIIC Policies;

              b.     The Addi plaintiffs did not prove “property damage” as defined in the

                     PIIC Policies;

              c.     The Addi plaintiffs did not prove an “occurrence” as defined by the

                     PIIC Policies; and

              d.     The Addi plaintiffs’ claims are excluded by the Fungi or Bacteria

                     exclusion, Lead Liability exclusion, Pollution exclusion, Contractual

                     Liability exclusion and/or Expected or Intended Injury exclusion.

       44.    Accordingly, PIIC had no duty to indemnify Corvias for the settlement of the

Addi Lawsuit.

                                         COUNT III
                                      Unjust Enrichment

       45.    PIIC adopts and incorporates by reference the allegations set forth in

paragraphs 1 through 44.

       46.    PIIC agreed to defend Corvias in the Addi Lawsuit pursuant to a reservation

of rights.



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       47.    PIIC agreed to allow Holland & Knight to defend Corvias with the express

condition that the agreed rates would be the most PIIC would pay for the defense. Corvias

reneged on this agreement.

       48.    Because Corvias had no right to independent counsel and no right to control

the defense, Corvias has been unjustly enriched by the amount that PIIC paid for Corvias’

defense that exceeds what PIIC would have paid if it had chosen defense counsel and

controlled the litigation, an amount that exceeds $75,000.

       49.    Because the PIIC policies do not cover the liability that Corivas had to the

Addi plaintiffs, Corvias has been unjustly enriched by the amount that PIIC paid in

contribution to the settlement of the claims, in an amount of $294,900.

       WHEREFORE, PIIC requests that this Honorable Court enter judgment in its favor

declaring that Corvias Management and Meade are obligated to reimburse PIIC for the

amounts that PIIC paid for Corvias’ defense in excess of what would have been paid if PIIC

choose defense counsel and controlled the litigation and for the amount that PIIC paid in

contribution to the settlement of the Addi Lawsuit. In addition, PIIC requests such other

and further relief as this Court may deem just and proper under the circumstances.




                                    /s/ Margaret Fonshell Ward
                                    Margaret Fonshell Ward (04586)
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                                mward@downs-ward.com
                                Attorneys for Defendant and Counter Plaintiff,
                                Philadelphia Indemnity Insurance Company



                            CERTIFICATE OF SERVICE


      I HEREBY CERTIFY that on this 11th day of November, 2022, a copy of the
foregoing Counterclaim was electronically filed to all counsel of record.

                                              /s/ Margaret Fonshell Ward
                                              Margaret Fonshell Ward




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